

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-77,446-01






DONTREY L. EASON, Relator


v.


 179TH JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1238829
			

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the179th Judicial District Court of Harris County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court. It appears the district court
entered an order designating issues on August 9, 2011.

	 Respondent, the Judge of the 179th Judicial District Court of Harris County, shall file a
response with this Court by having the Harris County District Clerk submit the record on such
habeas corpus application.  In the alternative, the trial court may resolve the issues set out in its order
and then have the District Clerk submit the record on such application. In either case, the trial court's
response shall be submitted within 30 days of the date of this order. This application for leave to file
a writ of mandamus will be held in abeyance until Respondent has submitted its response.


Filed: May 2, 2012

Do not publish	


